Case 8:11-cv-00325-JDW-TBM Document 16 Filed 10/24/11 Page 1 of 1 PagelD 39

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
JESSICA L. LIVINGSTON,
Plaintiff,
v. CASE NO: 8:11-CV-325-T-27TBM
POLLACK & ROSEN, P.A.,
Defendant.
/
ORDER

BEFORE THE COURT is Plaintiff s notice of voluntary dismissal with prejudice (Dkt. 15),
which is construed as a motion for dismissal under Fed. R. Civ. P. 41(a)(2). Upon consideration, the
motion is GRANTED, and this cause is DISMISSED WITH PREJUDICE. The Clerk is directed
to CLOSE the file.

t2.
DONE AND ORDERED this zit day of October, 2011.

ok D. WHITTEMORE

United States District Judge

Copies to:
Counsel of Record
